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                                      UNITED STATES OF AMERICA v. JOSHUA JAYNES

                                                           PENALTIES

 Count 1: NM Life/$ 250,000/both/NM 5 yrs. Supervised Release, Count 2: NM 5/$ 250,000/both/NM 3 yrs. Supervised Release,

                                   Count 3: NM 20/$ 250,000/both/NM 3 yrs. Supervised Release


                                                              NOTICE

ANY PERSON CONVICTED OF AN OFFENSE AGAINST THE UNITED STATES SHALL BE SUBJECT TO SPECIAL
ASSESSMENTS, FINES, RESTITUTION & COSTS.

SPECIAL ASSESSMENTS

18 U.S.C. § 3013 requires that a special assessment shall be imposed for each count of a conviction of offenses committed after
November 11, 1984, as follows:

          Misdemeanor:         $ 25 per count/individual                  Felony:         $100 per count/individual
                               $125 per count/other                                       $400 per count/other

FINES

In addition to any of the above assessments, you may also be sentenced to pay a fine. Such fine is due immediately unless the court
issues an order requiring payment by a date certain or sets out an installment schedule. You shall provide the United States Attorney's
Office with a current mailing address for the entire period that any part of the fine remains unpaid, or you may be held in contempt of
court. 18 U.S.C. § 3571, 3572, 3611, 3612

Failure to pay fine as ordered may subject you to the following:

          1.   INTEREST and PENALTIES as applicable by law according to last date of offense.

                     For offenses occurring after December 12, 1987:

                     No INTEREST will accrue on fines under $2,500.00.

                     INTEREST will accrue according to the Federal Civil Post-Judgment Interest Rate in effect at
                     the time of sentencing. This rate changes monthly. Interest accrues from the first business day
                     following the two week period after the date a fine is imposed.

                     PENALTIES of:

                     10% of fine balance if payment more than 30 days late.

                     15% of fine balance if payment more than 90 days late.

          2.         Recordation of a LIEN shall have the same force and effect as a tax lien.

          3.         Continuous GARNISHMENT may apply until your fine is paid.

          18 U.S.C. §§ 3612, 3613

                     If you WILLFULLY refuse to pay your fine, you shall be subject to an ADDITIONAL FINE
                     of not more than the greater of $10,000 or twice the unpaid balance of the fine; or
                     IMPRISONMENT for not more than 1 year or both. 18 U.S.C. § 3615
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RESTITUTION

If you are convicted of an offense under Title 18, U.S.C., or under certain air piracy offenses, you may also be ordered to make
restitution to any victim of the offense, in addition to, or in lieu of any other penalty authorized by law. 18 U.S.C. § 3663

APPEAL

If you appeal your conviction and the sentence to pay your fine is stayed pending appeal, the court shall require:

          1.         That you deposit the entire fine amount (or the amount due under an installment schedule
                     during the time of your appeal) in an escrow account with the U.S. District Court Clerk, or

          2.         Give bond for payment thereof.

          18 U.S.C. § 3572(g)

PAYMENTS

If you are ordered to make payments to the U.S. District Court Clerk's Office, certified checks or money orders should be made payable
to the Clerk, U.S. District Court and delivered to the appropriate division office listed below:

                     LOUISVILLE:                      Clerk, U.S. District Court
                                                      106 Gene Snyder U.S. Courthouse
                                                      601 West Broadway
                                                      Louisville, KY 40202
                                                      502/625-3500

                     BOWLING GREEN:                   Clerk, U.S. District Court
                                                      120 Federal Building
                                                      241 East Main Street
                                                      Bowling Green, KY 42101
                                                      270/393-2500

                     OWENSBORO:                       Clerk, U.S. District Court
                                                      126 Federal Building
                                                      423 Frederica
                                                      Owensboro, KY 42301
                                                      270/689-4400

                     PADUCAH:                         Clerk, U.S. District Court
                                                      127 Federal Building
                                                      501 Broadway
                                                      Paducah, KY 42001
                                                      270/415-6400

If the court finds that you have the present ability to pay, an order may direct imprisonment until payment is made.
